Case: 1:17-md-02804-DAP Doc #: 5276-9 Filed: 12/15/23 1 of 3. PageID #: 625656




                       Exhibit E
                      to Declaration of Matthew Hooker
    Case: 1:17-md-02804-DAP Doc #: 5276-9 Filed: 12/15/23   2 of US
                                                     Hogan Lovells 3. LLP
                                                                       PageID #: 625657
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September 1, 2022


BY ELECTRONIC MAIL AND SECURE FILE TRANSFER

Mana Moriarty
Department of the Attorney General
State of Hawai‘i
425 Queen St.
Honolulu, HI 96813

Linda Singer
Paige Boggs
Motley Rice LLC
401 9th St. NW, Suite 1001
Washington, DC 20004


    Re:            Subpoena to OptumRx, Inc. Dated October 15, 2021

Dear Mana, Linda and Paige:

With this letter and accompanying documents, OptumRx, Inc. (hereinafter “Optum,” or “the Company”)
makes its second production in response to the Subpoena dated October 15, 2021, as clarified by our
various telephone calls (the “Subpoena”). For ease of reference, this production has been labeled
OPTUM1021_002 and has been Bates-numbered OPTUM1021_0000001-0000002.

This production includes a spreadsheet of the rebates, administrative fees, and price protection fees
submitted by Optum to manufacturers of insulin products, and the amounts collected from those
manufacturers, with respect to insulin prescriptions filled at pharmacies in the State of Hawai‘i for
which claims were submitted from Q1 2016 - Q3 2021. This production also includes a spreadsheet
of transaction level data with respect to insulin prescriptions filled at pharmacies in the State of Hawai‘i
for which claims were submitted from Q1 2016 - Q3 2021.1 Per our discussions, these spreadsheets
do not include PHI; as such the transactions have been assigned scrambled claim numbers for ease
of linking the two spreadsheets.2
                                             *        *       *



1
        Per your request, we included the following fields in addition to Total Member Paid: (1) Flat
Copay (CLT_FLAT_COPAY_AMT); (2) Co-insurance (CO_INSURANCE_AMT); and (3) Deductible
(CLT_ATTRIB_TO_DED_AMT). We note, however, that those more granular fields may not add up
to the Total Member Paid in every instance.
2
       As discussed, we are producing two separate spreadsheets as the requested data is
maintained in different systems.
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Case: 1:17-md-02804-DAP Doc #: 5276-9 Filed: 12/15/23 3 of 3. PageID #: 625658
                                                 -2-                              September 1, 2022




The enclosed documents contain or constitute confidential business information, records, and/or trade
secrets of Optum and we have branded them “CONFIDENTIAL” and are producing them pursuant to
our May 18, 2022 Confidentiality Agreement with the State of Hawai‘i Department of the Attorney
General.

The submission of the enclosed materials does not waive, nor is it intended to waive, any rights,
privileges, or immunities of Optum with respect to this matter, including any applicable attorney-client
privilege, protection provided under the work-product doctrine, or other privilege or immunity that may
exist. In the event of any inadvertent production of privileged materials, Optum requests that the
government refrain from reviewing such materials and return the same promptly to Optum. Moreover,
to the extent that non-responsive documents, pages, or information have been produced inadvertently,
Optum does not agree to any expansion of the scope of your request. Optum expressly reserves any
applicable privileges and immunities to which it is entitled under the law.

Please call me if you have any questions about any aspect of this letter or the enclosed documents.



Sincerely,




Allison J. Caplis
Counsel
allison.caplis@hoganlovells.com
D 410-659-2784
